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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                            CASE NO. 1:08-cr-00012-MP-AK

AMANDA YVONNE WHITE,

      Defendant.
___________________________/

                                          ORDER

       This matter is before the Court on Defendant's oral motion to continue her sentencing and

hearing on the petition alleging violation of supervised release. The government does not

oppose the continuance. The motion is granted, and the sentencing and the hearing on the

violation petition are continued and reset for Thursday, October 1, 2009 at 10:00 a.m.

       DONE AND ORDERED this 9th day of June, 2009


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
